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 6                                 UNITED STATES DISTRICT COURT

 7                                NORTHERN DISTRICT OF CALIFORNIA

 8                                       (OAKLAND DIVISION)

 9   SLING MEDIA, INC.,                                  Case No. 4:13-cv-00074-YGR

10                   Plaintiff,                          [PROPOSED] ORDER OF
                                                         DISMISSAL WITHOUT
11          v.                                           PREJUDICE
12   BELKIN INTERNATIONAL, INC., MONSOON
     MULTIMEDIA, INC.,
13
                     Defendants.
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17          CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal Without
18   Prejudice of all claims and counterclaims asserted between plaintiff, Sling Media, Inc. and
19   defendants, Monsoon Multimedia, Inc. and Mr. Prabhat Jain in this case, and the Court being of
20   the opinion that said motion should be GRANTED, it is hereby:
21          ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted in
22   this suit between plaintiff, Sling Media, Inc. and defendants, Monsoon Multimedia, Inc. and Mr.
23   Prabhat Jain are hereby dismissed without prejudice, subject to the terms of that certain agreement
24   entitled “PATENTS IN SUIT SETTLEMENT AGREEMENT” and dated December 3, 2014.
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                                                     1      [PROPOSED] ORDER OF DISMISSAL WITHOUT PREJUDICE
                                                                                      Case No. 4:13-cv-00074-YGR
           Case 4:13-cv-00074-YGR Document 53 Filed 12/04/14 Page 2 of 2



 1          It is further ORDERED that all attorneys' fees, expenses, and costs are to be borne by the

 2   Party that incurred them.

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 4   IT IS SO ORDERED.

 5   Dated: December 4, 2014              _________________________________________
                                                Honorable Yvonne Gonzalez Rogers
 6                                              United States District Court Judge
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                                                     2      [PROPOSED] ORDER OF DISMISSAL WITHOUT PREJUDICE
                                                                                      Case No. 4:13-cv-00074-YGR
